IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Case No. 18-cr-00475-WYD

UNITED STATES OF AMERICA

Plaintiff,

Vv.

1. Mary Aronson
Defendant.

 

PLEA AGREEMENT

 

The United States of America (the government), by and through Suneeta Hazra
and Garreth Winstead, Assistant United States Attorneys for the District of Colorado,
and the defendant, Mary Aronson, personally and by counsel, Jon Banashek, submit

the following Plea Agreement pursuant to D.C.COLO.LCrR 11.1.

oo AGREEMENT ——

A. Defendant's Plea of Guilty

The defendant agrees to waive her right to be charged by indictment, and plead
guilty to a criminal information charging a violation of 21 U.S.C. §§ 841(a)(1) and
(b)(1)(C), illegal distribution of a controlled substance. The defendant further agrees to:
i) waive her appellate rights as set forth in detail below; ii) timely file a notice of
disposition; iii) withhold filing any pretrial motions; iv) pay restitution as outlined below;
and v) permanently relinquish her pharmacy licenses from the State of Colorado and

provide proof of such to the Court at sentencing.

 
   
    

COURT EXHIBIT
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Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 1 of 12

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 2 of 12

B. Government’s Obligations

In consideration of this plea agreement, if the United States Attorney=s Office for

the District of Colorado determines, in its sole discretion, that the defendant has
complied with the terms of this agreement, the Government after sentencing, will
dismiss the Indictment as to this defendant.

In return for the defendant's timely filing of a notice of disposition, the
Government agrees to request that the defendant receive a three-level decrease for
timely acceptance of responsibility pursuant to United States Sentencing Guideline
Section 3E1.1 (a).

The Government agrees that it will seek a sentence within the guideline range as
calculated by the Court.

C. Cooperation

The defendant agrees to provide truthful, complete and accurate information, and

agrees to cooperate fully with the government. The defendant understands that if she

provides-untruthful information, or falsely testifies,-she is in breach of this_Plea
Agreement, and the government reserves the right to prosecute her for Perjury, to
withdraw its agreement in this case, and to bring any additional charges, including those
that the government agreed to dismiss, or not bring, in connection with this plea
agreement. See Ricketts v. Adamson, 483 U.S. 1, 9-12 (1987) (agreement void and
government permitted to reinstate original charges when defendant failed to completely
fulfill his obligations pursuant to the plea agreement).

The defendant’s cooperation will include, but is not limited to, the following:

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 3 of 12

has cooperated fully and provided substantial assistance, and the government's

are within the government's sole discretion. Based on the defendant’s cooperation, and

It is understood that the government's determination of whether the defendant

assessment of the value, truthfulness, completeness and accuracy of the cooperation,

The defendant agrees to be fully debriefed, and to attend all
meetings at which her presence is requested, concerning her
participation in and knowledge of all criminal activities.

The defendant agrees to furnish to the government all documents
and other material that may be relevant to the investigation and that
are in the defendant’s possession or control.

The defendant agrees to testify fully and truthfully at any
proceeding in the District of Colorado or elsewhere as requested by
the government.

The defendant agrees that she will at all times give complete,
truthful and accurate information and testimony and that she will
fully and truthfully disclose all information with respect to the
activities of himself and others concerning all matters about which
the government inquires.

The defendant consents to postponements of her sentencing, as
requested by the government and as approved by the Court.
Should the defendant be required to provide testimony at a time
subsequent to her sentencing in this case and should the defendant
fail, later, to comply with the obligation to testify, the government
could seek to re-charge her on any and all counts which were
dismissed as part of this Plea Agreement. |

 

 

assuming no subsequent breach of this agreement, the government agrees not to bring

additional charges based on other conduct currently known to the government

concerning the defendant’s dispensing practices. The parties agree that this charge

bargain adequately reflects the assistance provided by the defendant to the government

and the future assistance contemplated by this agreement.
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 4 of 12

D. Defendant's Waiver of Appeal:

The defendant is aware that 18 U.S.C. ' 3742 affords the right to appeal the

sentence, including the manner in which that sentence is determined. Understanding
this and in exchange for the concessions made by the Government in this agreement,
the defendant knowingly and voluntarily waives the right to appeal any matter in
connection with this prosecution, conviction, or sentence unless it meets one of the
following criteria: (1) the sentence exceeds the maximum penalty provided in the
statute of conviction, (2) the sentence exceeds the advisory guideline range that applies
to a total offense level of 13 or (3) the government appeals the sentence imposed. If
any of these three criteria apply, the defendant may appeal on any ground that is
properly available in an appeal that follows a guilty plea.

The defendant also knowingly and voluntarily waives the right to challenge this
prosecution, conviction or sentence in any collateral attack (including, but not limited to,

a motion brought under 28 U.S.C. ' 2255). This waiver provision does not prevent the

—defendant from-seeking relief-otherwise-available-in a-collateral-attack-on any of the—

following grounds: (1) the defendant should receive the benefit of an explicitly
retroactive change in the sentencing guidelines or sentencing statute; (2) the defendant
was deprived of the effective assistance of counsel, or (3) the defendant was prejudiced
by prosecutorial misconduct.

Additionally, if the government appeals the sentence imposed by the Court, the

defendant is released from this waiver provision.

 

 

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 5 of 12

E. Forfeiture:

The defendant agrees to forfeit to the United States immediately and voluntarily
any and all proceeds and property traceable thereto, subject to forfeiture, pursuant to 21
U.S.C. § 853. The defendant agrees that the amount of proceeds obtained by her from
the offense of conviction is $20,000.00. The defendant also agrees that these proceeds
are unavailable for forfeiture because they have been spent or dissipated. Accordingly,
the defendant consents to the entry of a forfeiture money judgment in the amount of
$20,000.00, representing the proceeds obtained by the defendant in this case.

F. Restitution

The defendant further agrees to the entry of a community restitution order in the
amount of $55,000.00, pursuant to 18 U.S.C. § 3663(c). The parties agree that, taking
into consideration the amount of public harm caused by the offense and other relevant
factors, that a community restitution in the amount of $55,000.00 is appropriate and
should be distributed in accordance with 18 U.S.C. § 3663(c)(3).

il. ELEMENTS OF THE OFFENSE(S) _

The parties agree that the elements of the offense[s] to which this plea is being
tendered are as follows:

a. The defendant knowingly or intentionally distributed or dispensed
controlled substances as charged;

b. In doing so, the defendant acted and intended to act without a legitimate
medical purpose and outside the usual course of professional practice;

b. The substances were in fact Oxycodone and Amphetamine/

Dextroamphetamine.

 

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 6 of 12

lil. STATUTORY PENALTIES

The maximum statutory penalty for a violation of 21 U.S.C. §§ 841(a)(1) and
(b)(1)(C) is: not more than 20 years imprisonment; not more than a $1,000,000 fine, or
both; not less than three years of supervised release, nor more than a life term of
supervised release, and a $100 special assessment fee.

If probation or supervised release is imposed, a violation of any condition of
probation or supervised release may result in a separate prison sentence and additional
supervision.

IV. COLLATERAL CONSEQUENCES

The conviction may cause the loss of civil rights, including but not limited to the

rights to possess firearms, vote, hold elected office, and sit on a jury.
V. STIPULATION OF FACTS

The parties agree that there is a factual basis for the guilty plea that the
defendant will tender pursuant to this plea agreement. That basis is set forth below.

_ Because the Court must, as part of its sentencing methodology, compute the advisory _
guideline range for the offense[s] of conviction, consider relevant conduct, and consider
the other factors set forth in 18 U.S.C. §3553, additional facts may be included below
which are pertinent to those considerations and computations. To the extent the parties
disagree about the facts set forth below, the stipulation of facts identifies which facts are
known to be in dispute at the time of the execution of the plea agreement.

This stipulation of facts does not preclude either party from hereafter presenting

the Court with additional facts which do not contradict facts to which the parties have

 

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 7 of 12

stipulated and which are relevant to the Court’s guideline computations, to other 18
U.S.C. §3553 factors, or to the Court’s overall sentencing decision.

The parties agree that the date on which relevant conduct began is the summer
of 2016.

The parties agree as follows: The defendant is a Registered Pharmacist who
owns and operates St. Vrain pharmacy in Lyons, Colorado. On November 28, 2017,
law enforcement agents spoke with a confidential informant (“Cl”) who said that the Cl
has been purchasing OxyContin pills from the defendant for over a year and a half, and
that she paid $1 per pill. The generic name for OxyContin is Oxycodone.

On December 5, 2017, law enforcement conducted a controlled purchase from
the defendant using the Cl. Before the transaction, the Cl was searched, and agents
placed an audio recording device on the Cl’s person. Then the Cl entered the
pharmacy, and provided $50 to the defendant, asking for prescription narcotics without

providing a prescription. The defendant agreed, and provided the Cl with 20 pills of 10

not pursuant to any prescription. During the discussion, the Cl mentioned that the Cl
was planning on quitting pain pills after the new year, and the defendant replied that the
defendant was happy the Cl was quitting because the defendant worried about the Cl.
On January 19, 2018, law enforcement conducted a second controlled purchase
from the defendant using the Cl. Before the transaction, the Cl was searched, and
agents placed an audio recording device on the Cl’s person. Then the Cl entered the
pharmacy, and provided $150 to the defendant, asking for prescription narcotics without

providing a prescription. The defendant agreed, and provided the Cl with 30 pills of 10

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 8 of 12

milligram Oxycodone, and 30 pills of 20 milligram Amphetamine/Dextroamphetamine,
and 30 pills of 1 milligram Lorazepam, a schedule IV anti-anxiety medication, not
pursuant to any prescription.

On January 30, 2018, the Cl met with agents and reported that the Cl met with
the defendant on January 29, 2018, in order to fill a legitimate prescription. During the
meeting, the defendant discussed a scheme to avoid detection for providing prescription
medications without prescriptions. The defendant stated that she was suspicious,
having not heard back from her audit several months previously, and that she believed
there could be an investigation. Therefore, the defendant told the Cl that she would be
requiring her customers to write their own prescriptions if they wanted more oxycodone.
The Cl told the defendant that the Cl would not be able to get a legitimate prescription,
and then the defendant took four blank prescription pages from behind the counter and
showed the Cl how to fill out a forged prescription. The defendant told the Cl “don't
worry, the doctor is dead and will never find out.” The defendant filled out the

_prescription in the name of Frederick Eframo on one of the four prescription forms, and

 

 

filled out the rest of the information for the Cl, leaving the amount blank. The defendant
told the Cl to bring it back when the Cl needed Oxycodone next, and to fill it out for 120
Oxycodone.

On February 13, 2018, law enforcement conducted a third controlled purchase
from the defendant using the Cl. Before the transaction, the Cl was searched, and
agents placed an audio recording device on the Cl’s person. The Cl took the forged
prescription form the Cl had received from the defendant, and filled in the number of

pills as 120 Oxycodone, as the defendant had previously instructed. Then the Cl

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 9 of 12

entered the pharmacy, and asked the defendant for 120 Oxycodone for $200. The
defendant complained about the number of pills, and told the Cl that the Cl should try to
“ween off” the pills, and that the defendant would only provide 30 pills to the Cl, in
exchange for $60. The defendant also mentioned that due to the opioid epidemic that
“they were watching her” and that the Cl should put a different name on the forged
prescription the next time. The defendant provided the Cl with 30 pills of 10 milligram
Oxycodone, not pursuant to any valid prescription.

On April 12, 2018, agents executed search warrants at the defendant's home
and at the St. Vrain pharmacy. After a review of records recovered from the search
warrant and other records of the defendant's activities, agents identified a number of
drug-dispensing transactions which were clearly pursuant to false or invalid
prescriptions, After the search warrants were executed, the defendant agreed to speak
with the agents, and admitted to providing prescription medications to regular customers
without prescriptions, but at first said that she would only do so if they had had
prescriptions in the past and were allowed to have an emergency three-day supply.
She also admitted that she took pills home or provided them to family members, and
that there would likely be a discrepancy per month of around 50 to 150 Oxycodone pills.
She admitted to providing other sorts of medications without prescriptions to customers
who needed them. She eventually admitted that she would provide pills to customers in
anticipation of their later getting prescriptions, and that sometimes they would not later
get prescriptions.

The total amounts of the narcotics distributed by the defendant in the controlled

purchases, are:

 

 
‘Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 10 of 12

Amphetamine (actual): .9 grams
Oxycodone (actual): .8 grams

The converted drug weight for these substances is 23.36 kilograms.

VI. ADVISORY GUIDELINE COMPUTATION AND 3553 ADVISEMENT

The parties understand that the imposition of a sentence in this matter is
governed by 18 U.S.C. §3553. In determining the particular sentence to be imposed, the
Court is required to consider seven factors. One of those factors is the sentencing range
computed by the Court under advisory guidelines issued by the United States
Sentencing Commission. In order to aid the Court in this regard, the parties set forth
below their estimate of the advisory guideline range called for by the United States
Sentencing Guidelines. To the extent that the parties disagree about the guideline
computations, the recitation below identifies the matters, which are in dispute.

A. The base guideline is §§ 2D1.1 (a)(5) and (c)(7), with a base offense level
of 16.

B. The defendant is safety-valve eligible, and therefore receives a two-level
decrease under § 2D1.1 (b)(17).

 

C. The defendant receives a two level enhancement under § 3B1.3 for use of |

a position of public or private trust or a special skill for the crime, because
she used her pharmacy license to obtain the controlled substances she
distributed illegally.

D. The parties agree that the defendant should receive a 3-level downward
adjustment for timely acceptance of responsibility.

E, The adjusted offense level therefore would be 13.

F. The parties understand that the defendant’s criminal history computation
is tentative. The criminal history category is determined by the Court
based on the defendant’s prior convictions. Based on information
currently available to the parties, it is estimated that the defendant's
criminal history category would be I.

G. The career offender/criminal livelinood/armed career criminal adjustments
would not apply.

10

 

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 11 of 12

H. The advisory guideline range resulting from these calculations is 12-18
months. However, in order to be as accurate as possible, with the criminal
history category undetermined at this time, the offense level(s) estimated
above could conceivably result in a range from 12 months (bottom of
Category I) to 41 months (top of Category VI). The guideline range would
not exceed, in any case, the cumulative statutory maximums applicable to
the counts of conviction.

I. Pursuant to guideline § 5E1.2, assuming the estimated offense level

above, the fine range for this offense would be $ 5,500 to $55,000 plus
‘applicable interest and penalties.

J. Pursuant to guideline § 5D1.2, if the Court imposes a term of supervised
release, that term is at least 3 years, but not more than a life term of
supervision.

The parties understand that although the Court will consider the parties’ estimate,

the Court must make its own determination of the guideline range. In doing so, the .
Court is not bound by the position of any party. —
No estimate by the parties regarding the guideline range precludes either party

from asking the Court, within the overall context of the guidelines, to depart from that

range at sentencing if that party believes that a departure is specifically authorized by

the guidelines or that there exists an aggravating or mitigating circumstance of a kind, or

 

 

to a degree, not adequately taken into consideration by the United States Sentencing
Commission in formulating the advisory guidelines. Similarly, no estimate by the parties
regarding the guideline range precludes either party from asking the Court to vary
entirely from the advisory guidelines and to impose a non-guideline sentence based on
other 18 U.S.C. §3553 factors.

The parties understand that the Court is free, upon consideration and proper
application of all 18 U.S.C. §3553 factors, to impose that reasonable sentence which it
deems appropriate in the exercise of its discretion and that such sentence may be less
than that called for by the advisory guidelines (in length or form), within the advisory

11

 
Case 1:18-cr-00475-PAB Document 29 Filed 03/07/19 USDC Colorado Page 12 of 12

guideline range, or above the advisory guideline range up to and including
imprisonment for the statutory maximum term, regardless of any computation or position
of any party on any 18 U.S.C. §3553 factor.

VIL ENTIRE AGREEMENT

This document states the parties’ entire agreement. There are no other
promises, agreements (or "side agreements"), terms, conditions, understandings, or
assurances, express or implied. In entering this agreement, neither the government nor
the defendant has relied, or is relying, on any terms, promises, conditions, or

assurances not expressly stated in this agreement.

 

Date: Y SY/ 7

 

 

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12

 
